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                                                                                 Clerk, U. S. Disriot Court
                                                                                 Western DstricLof Texas
                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                                                            By            a)
                                      AUSTIN DIVISION


MONARCH INVESTMENTS, LLC,
            Plaintiff,
                                                                 CAUSE NO.:
-vs-                                                           A-14-CA-01019-SS
FERNANDO AURRECOECHEA,
ALEJANDRO AURRECOECHEA, and
NASH MARTINEZ,
             Defendants.


                                    VERDICT FORM

WE THE JURY UNANIMOUSLY ANSWER THE FOLLOWING:

       Read all instructions in the jury charge before completing this form. This form contains ten
questions, some of which have multiple parts. However, depending on your answers, you may not
answer all questions. Please carefully read the instructions on this form. Your verdict must be
unanimous.

QUESTION     1


1.     Did any of the individuals listed below commit a federal securities law violation against
       Monarch?

Answer "Yes" or "No" for each of the following:

Fernando Aurrecoechea:           \JO

Alej andro Aurrecoechea:        No
Nash Martinez:

       If you answered "Yes" to any of the individuals listed in Question 1, please proceed to
Question 2. Otherwise, move on to Question 3.

QUESTION 2

2.     For each individual for whom you answered "Yes" in response to Question 1, did that
       individual commit the violation knowingly?
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Answer "Yes" or "No" for each individual for whom you answered "Yes" in response to Question 1:

Fernando Aurrecoechea:

Alejandro Aurrecoechea:

Nash Martinez:

       Regardless of your answers to Question 2, please proceed to Question 3.

QUESTION 3

3.     Did any of the individuals listed below sell a security to Monarch?

Answer "Yes" or "No" for each of the following:

Fernando Aurrecoechea:

Alejandro Aurrecoechea:

Nash Martinez:                           0

Elias Lorenzana, Jr.:

       If you answered "Yes" to Question 3 for any individual, please proceed to Question 4. If you
answered "No" to Question   3   for all individuals, please proceed to Question 6.

QUESTION 4

4.     Did any of the individuals for whom you answered "Yes" in response to Question 3 commit
       a Texas securities law violation against Monarch?

Answer "Yes" or "No" for each of the following:

Fernando Aurrecoechea:             \.   (5
Alejandro Aurrecoechea:

Nash Martinez:

Elias Lorenzana, Jr.:

      If you answered "Yes" to Question 4 for any individual, please proceed to Question 5. If you
answered "No" to Question 4 for all individuals, please proceed to Question 6.




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QUESTION 5

5.     Did any of the individuals listed below materially aid any of the individuals for whom you
       answered "Yes" in response to Question 4 in committing a Texas securities law violation?

Answer "Yes" or "No" for each of the following:

Fernando Aurrecoechea:

Alejandro Aurrecoechea:         \.j   c




Nash Martinez:

       Regardless of your answers to Question 5, please proceed to Question 6.

QUESTION 6

6.     Did any of the individuals listed below commit fraud against Monarch?

Answer "Yes" or "No" for each of the following:

Fernando Aurrecoechea:           \"3 C)

Alejandro Aurrecoechea:           NJ      0
Nash Martinez:                    \J      U
Elias Lorenzana, Jr.:                 QS
      If you answered "Yes" to Question 6 for any individual, please proceed to Question 7. If you
answered "No" to Question 6 for all individuals, answer no further questions.

QUESTION 7

7.     Were any of the individuals listed below part of a conspiracy to engage in fraud with any of
       those for whom you answered "Yes" in response to Question 6?

Answer "Yes" or "No" for each of the following:

Fernando Aurrecoechea:          \/?S

Alejandro Aurrecoechea:

Nash Martinez:                  N0
       Regardless of your answer to Question 7, please proceed to Question 8.


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QUESTION 8

8.      What sum of money, if any, if paid now in cash, would fairly and reasonably compensate
        Monarch for its damages, if any, caused by the conduct found in response to Questions 6 or
        7?

Answer in dollars and cents, if any, for investment losses arising from the purchase of a membership
interest in Weilness Med Clinics, LLC:

Answer:

        Regardless of your answer to Question 8, please proceed to Question 9.

QUESTION 9

9.      Do you find by clear and convincing evidence that the harm to Monarch resulted from the
        fraud or malice of any of the individuals listed below?

Answer "Yes" or "No" for each individual for whom you answered "Yes" in response to Questions
6or7:
Fernando Aurrecoechea:           N     C)



Alejandro Aurrecoechea:           N0
Nash Martinez:                   t\3   0
        If you answered "Yes" to Question   9 for any individual, please proceed to Question 10.   If
you answered "No" to Question 9 for all individuals, answer no further questions.

QUESTION 10

10.     What sum of money, if any, if paid now in cash, should be assessed against the individuals
        listed below and awarded to Monarch as exemplary damages, if any, for conduct found in
        respond to Question 9?

Answer in dollars and cents, if any, for each individuals listed below for whom you answered "Yes"
in response to Question 9:

Fernando Aurrecoechea:

Alej andro Aurrecoechea:

Nash Martinez:



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Submitted this the   (Qiay of November 2016,   at/1.)Oo'c1ock g. m.
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                                          TO E-GOVERNMENT
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                                                 JUROR
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